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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 11
)

W. R. GRACE & CO., et al., | ) Case No. 01-01139 JKF)
) Gointly Administered)

)
Debtors. ) Objection Deadline: 4 dy | 1G, 2007,

at 4:00 p.m. (prevailing eastern time)

SUMMARY APPLICATION OF LATHAM & WATKINS LLP FOR
COMPENSATION FOR SERVICES AND REIMBURSEMENT OF EXPENSES AS
SPECIAL TAX COUNSEL TO W. R. GRACE & CO., ET AL., FOR THE

PERIOD FROM FEBRUARY 1, 2007, THROUGH FEBRUARY 28, 2007

Name of Applicant: Latham & Watkins LLP (“L&W”)
Authorized to Provide Professional Services to: W.R. Grace & Co., et al., Debtors and

Debtors-in Possession

Date of Retention: Retention Order entered June 16, 2004,
effective nunc pro tunc from April 1, 2001,

Order Authorizing Expansion entered
March 27, 2006,

Period for which compensation and reimbursement February 1, 2007 through February 28, 2007
is sought:

Amount of Compensation sought as actual, $11,678.00
reasonable and necessary:

Amount of Expense Reimbursement sought ($3.57)
as actual, reasonable and necessary:

This is a(n) X monthly, interim, final application.

1 The debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.), W. R. Grace & Co.-Conn., A-1 Bit
& Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Ine., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc.,
Coalgrace, Inc., Coalgrace II, Inc., Creative Food ‘N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC
(f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., G C Limited Partners I, Inc. (f/k/a Grace Cocoa Limited Parmers [,
Inc.), G C Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasville
Corp., Gloucester new Communities Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary
Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G
Il Inc., Grace Hotel Services Corporation, Grace international Holdings, Inc. (i/k/a Dearbom Intemational Holdings, Inc.), Grace Offshore
Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace
Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe Land
Development Corporation, Hanover Square Corporation, Homco Intemational, Inc., Koontenai Development Company, L B Realty, Inc.,
Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH, Inc., Asbestos Managerrent, Inc.), Monolith Enterprises, Incorporated,
Monroe Street, Inc., MRA Holdings Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (f/k/a Nestor-BNA, Inc.), MRA
Staffing Systems, Inc. (fk/a British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a Environmental Liability Managerrent, Inc., E&C
Liquidating Corp., Emerson & Cuming, inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company,
CC Partners (f/k/a Cross Country Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.

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The total time expended for the preparation of this application is approximately 1 hours,
and the corresponding estimated compensation that will be requested in a future application is

approximately $400.00.

This is the second monthly application for interim compensation of services for the
January-March 2007 quarter that Latham & Watkins LLP has filed with the Bankruptcy Court in

the Chapter 11 Cases. The following applications have been filed previously in the Chapter 11

Cases:
Date Filed Period Covered Requested Requested Approved Fees Approved
Fees Expenses Expenses
On or about December 2003 —- | $211,719.00 $6,927.50 All fees approved | $6,897.50
August 9, 2004 June 2004 approved
On or about August {| July 1, 2004 - July | $11,334.50 $201.32 All fees approved | Ail expenses
25, 2004 31, 2004 approved
On or about August 1, 2004 - { $81,729.50 $5,199.44 All fees approved | All expenses
October 25, 2004 August 31, 2004 and approved
September 1, 2004 -
September 30, 2004
On or about October 1, 2004 — $45,050.00 $1,825.59 All fees approved | All expenses
November 25, 2004 | October 30, 2004 approved
On or about November 1, 2004 - $31,913.50 $1,509.91 All fees approved j All expenses
December 25, 2004 | November 30, 2004 approved
On or about December 1, 2004-— | $26,177.50 $1,282.35 All fees approved | All expenses
January 25, 2005 December 31, 2004 approved
On or about July 1, 2004 — $93,064.00 $5,400.76 All fees approved | All expenses
February 4, 2005 September 30, 2004 approved
On or about January 1, 2005 — $23,485.50 $3,14.93 All fees approved | All expenses
February 25, 2005 January 31, 2005 approved
On or about March | February 1, 2005 - $22,065.00 $628.01 All fees approved | All expenses
25, 2005 February 28, 2005 approved
On or about May | October 1, 2004 — $103,141.00 $4,617.85 All fees approved | All expenses
19, 2005 December 31, 2004 approved
On or about May | March 1, 2005 — $39,952.00 $160.88 All fees approved | All expenses
24, 2005 March 31, 2005 approved
On or about May | January 1, 2005 — $85,502.50 $1,103.82 All fees approved | All expenses
24, 2005 March 31, 2005 approved
On or about May | April i, 2005—April | $33,385.50 $593.50 All fees approved | All expenses
26, 2005 30, 2005 approved
On or about July 8, | May !,2005-May j $15,799.50 $956.63 All fees approved | A!l expenses
2005 31, 2005 approved
On or about August | June i, 2005 — June $3,343.00 $332.11 All fees approved | All expenses
9, 2005 30, 2005 approved
On or about August | April 1,2005-—June | $52,528.00 $1,882.24 All fees approved | All expenses
9, 2005 30, 2005 approved
On or about July 1, 2005 -- July $1,392.00 $8.93 All fees approved All expenses
September 19, 2005 | 31, 2005 approved

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On or about August 1, 2005 — $698.50 $39.03 All fees approved | All expenses
October 10, 2005 August 31, 2005 approved
On or about September 1, 2005— | $736.50 $5.32 All fees approved | All expenses
October 26, 2005 September 30, 2005 approved
On or about July 1, 2005 - $2,827.00 $53.28 All fees approved | All expenses
October 26, 2005 September 30, 2005 approved
On or about October 1, 2005 — $689.00 $9.34 All fees approved All expenses
December 28, 2005 | October 31, 2005 approved
On or about November 1, 2005— | $73.50 $6.45 All fees approved | All expenses
January 13, 2006 November 30, 2005 approved
On or about June 1, 2006 — June $16,407.50 $0.00 All fees approved All expenses
October 20, 2006 30, 2006 approved
On or about July 1, 2006 — July $16,122.50 $35.61 All fees approved All expenses
October 20, 2006 31, 2006 approved
On or about August 1, 2006 — $13,317.50 $6.18 All fees approved | All expenses
October 20, 2006 August 31, 2006 approved
On or about September 1, 2006- | $3,347.00 $4.79 Pending Pending
October 20, 2006 September 31, 2006
On or about October 1, 2006 — $2,571.00 $4.34 Pending Pending
October 20, 2006 October 31, 2006
On or about November 1, 2006-— { $2,862.50 $0.00 Pending Pending
October 20, 2006 November 30, 2006
LATHAM & WATKINS LLP PROFESSIONALS
Name of Attorney Position with | Number of Hourly Total Total
the Applicant | Yearsasan | Department Billing Billed | Compensation
Attorney Rate Hours
David S. Raab Partner 18 Tax 895.00 50 447.50
Nicholas J. DeNovio Partner 18 Tax 775.00 8.90 6,897.50
PB Wheeler Associate 2 Unassigned 425.00 9.20 3,910.00
Total for Attorneys 13.6 $11,255.00
Position with the Department Hourly Total Total
Applicant Billing Billed Compensation
Name of Rate Hours
Legal Assistant
Elizabeth Amold Paralegal Bankruptcy 235.00 1.80 423.00
Total for Legal Assistants 1.80 $423.00
COMPENSATION BY MATTER
Matter Total Total Fees
Matter
Number Hours Requested
042362-0000 Federal Tax General Planning 20.4 11,678.00
Total Compensation 20.4 $11,678.00

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EXPENSE SUMMARY FOR FEDERAL TAX GENERAL PLANNING

Description Amount
Photocopying 3.57
Total $3.57

WHEREFORE, L&W tespectfully requests that, for the period February 1, 2007
through February 28, 2007, an interim allowance be made to L&W for compensation in the
amount of $11,678.00 and actual and necessary expenses in the amount of $3.57 for a total
allowance of $11,681.57 and payment of $9,342.40 (80% of the allowed fees) and
reimbursement of $3.57 (100% of the allowed expenses) be authorized for a total payment of
$9,345.97, and for such other and further relief as this Court may deem just and proper.
Washington, D.C. Respectfully submitted,

Dated: March 27 , 2007

LATHAM & WATKINS LLP

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